Case: 2:17-cv-00463-GCS-KAJ Doc #: 71 Filed: 01/11/19 Page: 1 of 4 PAGEID #: 1414



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

JASON SCHAUMLEFFEL,                                    )
              Plaintiff,                               )       Case No. 2:17-cv-463
          v.                                           )
                                                       )       Judge Smith
MUSKINGUM UNIVERSITY, et al.,                          )
              Defendants                               )       Magistrate Judge Jolson

                                    JOINT STATUS REPORT

       Pursuant to the Court’s Order dated December 13, 2018 (Doc. 70), the parties hereby

jointly file this Status Report detailing the results of their meet and confer process.

       Due to unanticipated post-holiday schedule challenges, settlement discussions are not yet

concluded between Plaintiff, Defendant Muskingum and Defendant Zambori. These parties

anticipate that these discussions are likely to be resolved, one way or another, within the next two

weeks. It is difficult for the parties to address the question of the court’s jurisdiction at this time

because the outcome of those discussions will likely impact the jurisdictional posture of the case.

       As those settlement discussions are being wrapped up, the parties are in agreement on the

following:

       1. The parties have agreed upon the terms of a Stipulated Protective Order, which the

parties intend to file by joint motion within the next week.

       2. The parties would not object to the lifting of the stay on discovery.

       3. Defendant Neal and Plaintiff jointly request that the stay on briefing of Defendant Neal’s

Motion for Judgment on the Pleadings remain in place until there is further clarity regarding

whether the court will continue to have jurisdiction over this matter.

       The parties respectfully submit this Report and commit to continuing to move the case

along as described in this Report, and in anticipation of further guidance from the court.
Case: 2:17-cv-00463-GCS-KAJ Doc #: 71 Filed: 01/11/19 Page: 2 of 4 PAGEID #: 1415




                                               Respectfully submitted,


/s/ J. Kevin West                              /s/ David T. Ball
James H. Newberry, Jr. (pro hac vice)          Eric J. Rosenberg (Ohio Bar #0069958)
J. Kevin West (OH #0091520)                    David T. Ball (Ohio Bar #0078885)
Nelva J. Smith (OH #0083594)                   Rosenberg & Ball Co. LPA
STEPTOE & JOHNSON PLLC                         395 North Pearl Street
Huntington Center, Suite 2200                  Granville, OH 43023
41 South High Street                           Telephone: (614) 316-8222
Columbus, Ohio 43215                           Fax: (866) 498-0811
T: (859) 219-8226                              E-mail: erosenberg@rosenbergball.com
F: (859) 255-6903                              dball@rosenbergball.com
jim.newberry@steptoe-johnson.com
kevin.west@steptoe-johnson.com                 Attorneys for Plaintiff Jason Schaumleffel
nelva.smith@steptoe-johnson.com

Attorneys for Defendant Muskingum University



/s/ Carrie M. Lymanstall                       /s/ Jordan E. O’Connell
Shawn J. Organ (0042052)                       Aneca E. Lasley (0072366)
Carrie M. Lymanstall (0084393)                 aneca.lasley@squirepb.com
Joshua M. Feasel (0090291)                     Eleanor M. Hagan (0091852)
Organ Cole llp                                 (pro hac vice)
1330 Dublin Road                               eleanor.hagan@squirepb.com
Columbus, Ohio 43215                           Jordan E. O’Connell (0097126)
614.481.0900                                   (pro hac vice)
614.481.0904 (f)                               jordan.oconnell@squirepb.com
sjorgan@organcole.com                          SQUIRE PATTON BOGGS (US) LLP
cmlymanstall@organcole.com                     2000 Huntington Center
jmfeasel@organcole.com                         41 South High Street Columbus, Ohio 43215
                                               Telephone: +1 614 365 2700
Attorneys for Defendant Macey Zambori          Facsimile: +1 614 365 2499

                                               Attorneys for Defendant Mackenzie Dickerson
/s/ Bartholomew T. Freeze_______________        _
Bartholomew T. Freeze (0086980)
FREUND FREEZE & ARNOLD
Capitol Square Office Building
65 E. State Street, Suite 800
Columbus, OH 43215-4247
P: (614) 827-7300;
F: (614) 827-7303
Case: 2:17-cv-00463-GCS-KAJ Doc #: 71 Filed: 01/11/19 Page: 3 of 4 PAGEID #: 1416



bfreeze@ffalaw.com

Counsel for Defendant Mark K. Neal
Case: 2:17-cv-00463-GCS-KAJ Doc #: 71 Filed: 01/11/19 Page: 4 of 4 PAGEID #: 1417



                               CERTIFICATE OF SERVICE

       A copy of the foregoing Joint Status Report was electronically filed with the Court and

served via the CM/ECF system and U.S. mail upon all counsel of record on January 11, 2019.

                                            /s/ David T. Ball
                                            David T. Ball
